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            IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE DISTRICT OF DELAWARE
                                 )
In re                            )    Chapter 11
                                 )
ENERGY FUTURE HOLDINGS CORP., et )    Case No. 14-10979 (CSS)
al., 1                           )
                  Debtors.       )    (Jointly Administered)
                                 )    Re: Docket No. 2087

                            DECLARATION OF GREGORY STARNER, ESQ.

                    GREGORY M. STARNER, declares under penalty of perjury under the laws of

the United States of America, that the following is true and correct:

          I am a partner of the firm White & Case LLP, counsel to the ad hoc group of certain

holders (the “Ad Hoc Group of TCEH Unsecured Noteholders”) of approximately $2.6 billion of

10.25% Fixed Senior Notes due 2015 (including Series B) and 10.50%/11.25% Senior Toggle

Notes due 2016 issued by Texas Competitive Electric Holdings Company LLC (“TCEH”) and

TCEH Finance, Inc., by and through its undersigned counsel, hereby files its objection (the

“Objection”). I submit this Declaration in support of the Objection of the Ad Hoc Group of

TCEH Unsecured Noteholders to the Motion of EFH Corp., et al., for Entry of an Order (A)

Approving Bidding Procedures, (B) Scheduling an Auction and Related Deadlines and Hearings,

and (C) Approving the Form and Manner of Notice Thereof [D.I. 2087] (the “Motion”), filed

October 10, 2014.

          Attached to the Declaration are, to the best of my knowledge, true and correct copies of

the following documents:

          Exhibit 1:           Excerpts from the October 2, 2014 Hearing.

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           The last four digits of Energy Future Holdings Corp.’s federal tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these chapter 11 cases,
for which the debtors have been granted joint administration, a complete list of the debtors and the last four digits of their federal
tax identification numbers is not provided herein. A complete list of such information may be obtained on the website of the
debtors’ claims and noticing agent at http://www.efhcaseinfo.com.
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          Exhibit 2:     Excerpts from the October 3, 2014 Deposition of Paul Keglevic.

          Exhibit 3:     Presentation to the Boards of Directors and Managers of Energy Future
                         Holdings Corp., Energy Future competitive Holdings Company LLC,
                         Texas Competitive Electric Holdings Company LLC, TCEH Finance Inc.,
                         Energy Future Intermediate Holding Company LLC, and EFIH Finance
                         Inc., “RSA Status and NextEra Proposal.” July 17, 2014 (EFH90009346 –
                         EFH90009359). 2*

          Exhibit 4:     Exhibit 4 to the October 3, 2014 Deposition of Paul Keglevic. Presentation
                         to Prospective Investors, July 25, 2014. (EFH90009170 –
                         EFH90009181).*

          Exhibit 5:     Energy Future Holdings Oncor Outreach Contact Log, July 25, 2014.
                         (EFH90009233_R – EFH90009246_R).*

          Exhibit 6:     Exhibit 10 to the October 6, 2014 Deposition of Wiliam O. Hiltz. July 26,
                         2014 Email from D. Ying. (EFH90009231 – EFH90009232).*

          Exhibit 7:     Exhibit 7 to the October 8, 2014 Deposition of Hugh Sawyer.
                         Presentation to the Boards of Directors and Mangers of Energy Future
                         Intermediate Holding Company LLC and EFIH Finance Inc.,
                         “Restructuring Update,” July 30,2014. (EFH90009360 – EFH90009378).*

          Exhibit 8:     July 17, 2014 Minutes of the Joint Board Meeting.
                         (EFH90009555 – EFH90009562).*

          Exhibit 9:     February 7, 2014 EFH Board Resolutions. (EFH2D00066277 -
                         EFH2D00066278).*

          Exhibit 10:    Excerpts from the October 6, 2014 Deposition of William O. Hiltz.

          Exhibit 11:    Exhibit 11 to the October 8, 2014 Deposition of Hugh Sawyer. Energy
                         Future Holdings Corp., Energy Future Intermediate Holding Company
                         LLC, Texas Competitive Electric Holdings Company LLC, Energy Future
                         Competitive Holdings Company LLC, TCEH Finance, Inc., EFIH Finance
                         Inc., Board Agenda, September 5, 2014. (EFH90009445).*

          Exhibit 12:    Excerpts from the July 1, 2014 Hearing.

          Exhibit 13:    Excerpts from the October 8, 2014 Deposition of Hugh Sawyer.


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    * Pursuant to Paragraph 16(a) of the Confidentiality Agreement and Stipulated Protective Order
       (“Protective Order”) [D.I. 1833], this document is being filed under temporary seal because it
      has been designated as “Confidential.”
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Exhibit 14:   Exhibit 7 to the October 3, 2014 Deposition of Paul Keglevic. September
              10, 2014 email from B. Yi. (EFH90000047 – EFH90000048).*

Exhibit 15:   Exhibit 12 to the October 6, 2014 Deposition of William O. Hiltz.
              September12, 2014 Email from S. Raghavan. (EFH-EVR090000362 –
              EFH-EVR090000363).*

Exhibit 16:   Excerpts from the October 8, 2014 Deposition of Charles Cremens.

Exhibit 17:   Excerpts from the October 7, 2014 Deposition of Anthony Horton.

Exhibit 18:   Bylaws of Energy Future Holdings Corp.

Exhibit 19:   Seconded Amended and Restated Limited Liability Company Agreement
              of Energy Future Intermediate Holding Company LLC.

Exhibit 20:   Excerpts from the September 16, 2014 Hearing.

                                                              /s/ Gregory M. Starner
                                                         GREGORY M. STARNER
